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UN|TED STATES OF ANlEFt|CA

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-v- 00-20140-01-Ma iii . »: §§fj; §f.?\-';-;'irfniis

04-20276-01-Mai/
BABA ASSA KAND|OURA
MLM€_|,M
Defense Attorney
50 North Front Street, Suite 850
Memphis,Tennessee 38103

Doris Randle-Ho|t, FPD

Defense Attorney

200 Jefferson Avenue, Suite 200
Nlemphis,Tennessee 38103

 

JUDGN|ENT IN A CR|M|NAL CASE

(For Offenses Committed On or After November 1, 1987)

The defendant Was found guilty on Counts 1 through 6 of indictment # 00-20140 on November 18, 2004,
and the defendant entered a guilty plea to Count 1 of indictment # 04-20276 on January 4, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following offense(s);

Date Offense Count
Title & Section Nature of Offense Concluded Numberjsj
17 U.S.C. § 506(a) Criminal infringement on copyrights 12/30/1999 1 - 5 (00_29140)
is u.s.o. § 231 s(b)(1)
17 U.S.C. § 506(a) Criminal infringement on copyrights 12/30/1999 6 (00.20140)
18 U.S.C. § 2319(!))(3) (misdemeanor)

18 U.S.C. § 3146(a)(1) Fai!ure to appear 08/03/200‘| 1 (04_20275)

The defendant is sentenced as provided in the following pages of this judgment The sentence_is
imposed pursuant to the Sentencing Fiefon~n Actoi1984 and the i\/landatory Victims Fiestitution A'ct
of 1996.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of namer residence, or mailing address until all iines,
restitution, costs and special assessments imposed by this judgment are fully paid.

Deiendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence'.
Defendant’s Date of Birth: 05/05/1969 i\/|ay 12, 2005
Dett’s U.S. N|arsha| No.: 17456-076

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SAl\/lUEL H. MAYS, JFi.
UN|TED STATES D|STFtiCT JUDGE

 

This document entered on the docket sheet in compich /¢r r 2005

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With Hule 56 and/cr 3203) FRCrP on § 026 QS

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Case NOZ 00-20140-01-|\/|&
04-20276-0‘| -i\/la
Defendant Name: Baba Assa Kandioura Page 2 of 5

l|VlPR|SONNlENT

As to Case Number 00-20140, the defendant is hereby committed to the custody of
the United States Bureau of Prisons to be imprisoned for a term of thirteen (13) months
on Counts 1 through 5 and twelve (12) months on Count 6, to run concurrent

As to Case Number 04-20276, the defendant is hereby committed to the custody of
the United States Bureau of Prisons to be imprisoned for a term of two (2) months on
Count 1 (one (i) month under §3146 and one (t) month under §3147), which shall run
consecutive to the sentence imposed in Case Numt)er 00-20‘|40.

Tota| term of imprisonment is fifteen (15) months.

The defendant is remanded to the custody of the United States Nlarsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Detendant delivered on to §
at . with a certified copy of this
judgmentl
UN|TED STATES |\/lAFiSl-iAl_
By:

 

Deputy U.S. |Vlarsha|

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Case No'. 00-20140-01-Nla
O4-20276-01-Nla
Defendant Name: Baba Assa Kandioura Page 3 of 5

SUPERViSED FtELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two (2) years on Counts 1 through 5 and one (1) year on Count 6 of Case
l\lumber 00-20140, and two (2) years on Count 1 of Case Number 04-20276, all to run
concurrently, for a total term of supervised release of two (2) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 Ll.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafterr as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDlTlONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission cf the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officerfor
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use.

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substanoe;

7. The defendant shall not frequent places where controlled substances are illegaily sotd, used,
distributed, or administered;

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Case No: 00-20140-01-l\/la

04-20276-01-Ma

Defendant Name: Baba Assa Kandioura Page 4 of 5

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l`l.

12.

13.

The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

`l'he defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

if this judgment imposes a fine or a restitution obtigationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedufe of Payments set
forth in the Crimina| lVlonetary Penalties sheet of this judgmentl

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shali also comply with the following additional conditions of supervised

release:

1 .

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 00-20140-01-l`v‘la
04-20276-01-Nla
Defendant Name: Baba Assa Kandioura Page 5 of 5

CRIlVl|NAL NlONETARY PENALTiES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the SChedule of F’ayments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the SChedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Ftestitution
$625.00

The Special Assessment shall be due immediately

FINE
No fine imposed

FtESTlTUT|ON
l\lo Fiestitution was ordered

ii|r

UNITD sATES DRISTIC COURT - WEERN DISTRIC oF TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
ease 2:04-CR-20276 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

Tracy Lynn Berry

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FEDERAL PUBLIC DEFENDER
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Honorable Samuel Mays
US DISTRICT COURT

